Case 2:11-cv-02481-SIL      Document 129-1 Filed 09/13/24          Page 1 of 12 PageID #:
                                        801



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 CHAD S. JOHNSON,
                                                   Case No. 11-cv-2481
                          Plaintiff,

                v.

 SUFFOLK COUNTY, et al.

                          Defendants.




                      MEMORANDUM OF LAW IN SUPPORT OF
                        PLAINTIFF’S MOTIONS IN LIMINE




                                   14 Wall Street, Suite 1603
                                  New York, New York 10005




On the Brief:

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Case 2:11-cv-02481-SIL                     Document 129-1 Filed 09/13/24                                Page 2 of 12 PageID #:
                                                       802




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT ................................................................................................... 1

ARGUMENT ................................................................................................................................... 2

   I. EVIDENCE REGARDING THE MURDER INVESTIGATION SHOULD BE
   EXCLUDED ................................................................................................................................. 2

   II.    IMPEACHMENT SHOULD BE LIMITED TO AVOID UNDUE PREJUDICE................. 5

   III. PLAINTIFF SHOULD BE PERMITTED TO APPEAR BEFORE THE JURY IN STREET
   CLOTHES AND WITHOUT RESTRAINTS .............................................................................. 7

   IV. DEFENDANTS SHOULD NOT BE PERMITTED TO IMPLY THAT THEY WILL BE
   REQUIRED TO PAY JUDGMENT AGAINST THEM .............................................................. 7

CONCLUSION ............................................................................................................................... 8




                                                                      i
Case 2:11-cv-02481-SIL                    Document 129-1 Filed 09/13/24                            Page 3 of 12 PageID #:
                                                      803



                                               TABLE OF AUTHORITIES
     CASES
Kingsley v. Hendrickson, 576 U.S. 389 (2015)................................................................................. 3

Daniels v. Loizzo, 986 F. Supp. 245 (S.D.N.Y. 1997) ...................................................................... 5

Davidson v. Riley, 44 F.3d 1118 (2d Cir. 1995) ............................................................................... 7

Espinosa v. McCabe, No. 10-cv-497, 2014 WL 988832, at *1 (N.D.N.Y. Mar. 12, 2014) ............. 6

Estelle v. Williams, 425 U.S. 501 (1976) .......................................................................................... 7

Graham v. Connor, 490 U.S. 386 (1989) ......................................................................................... 3

Heck v. Humprey, 512 U.S. 477 (1994). ........................................................................................... 2

Hines v. Huff, No. 16-cv-503, 2019 WL 3574246, at *2 (N.D.N.Y. Aug. 6, 2019) ......................... 5

Jackson v. Suffolk County, 135 F.3d 254 (2d Cir. 1998) .................................................................. 2

Kemezy v. Peters, 79 F.3d 33 (7th Cir. 1996) ................................................................................... 7

Mathie v. Fries, 121 F.3d 808 (2d Cir. 1997) ................................................................................... 7

Michelson v. United States, 335 U.S. 469 (1948) ............................................................................. 5

Rogoz v. City of Hartford, 796 F.3d 236 (2d Cir. 2015) ................................................................... 3

Scott v. United States, 436 U.S. 128 (1978)...................................................................................... 3

States v. Nichols, 808 F.2d 660 (8th Cir. 1987) ................................................................................ 5

Terry v. Ohio, 392 U.S. 1 (1968) ...................................................................................................... 3

United States v. Burgos, 1997 WL 527365, at *1 (D. Conn. July 24, 1997) .................................... 7

United States v. Agostini, 280 F. Supp. 2d 260 (S.D.N.Y. 2003) ..................................................... 6

United States v. Flaharty, 295 F.3d 182 (2d Cir. 2002) ................................................................... 6

Williams v. Geraci, No. 14-CV-5742, 2020 WL 5848738, at *2 (E.D.N.Y. Sept. 30, 2020) ...... 5, 6

Zulu v. Barnhart, No. 16-cv-1408, 2019 WL 3239397, at *2 (N.D.N.Y. July 18, 2019) ................ 6




                                                                   ii
Case 2:11-cv-02481-SIL                       Document 129-1 Filed 09/13/24                                Page 4 of 12 PageID #:
                                                         804



     RULES
Fed. R. Evid. 403 .............................................................................................................................. 7

Fed. R. Evid. 608 .............................................................................................................................. 5

Fed. R. Evid. 609(a)(1) ..................................................................................................................... 5




                                                                       iii
Case 2:11-cv-02481-SIL         Document 129-1 Filed 09/13/24              Page 5 of 12 PageID #:
                                           805



       Plaintiff Chad Johnson submits this memorandum of law in support of the motions in

limine set forth in his notice of motion.

                                 PRELIMINARY STATEMENT

       On May 24, 2010, Plaintiff was arrested by the Suffolk County Police Department and

charged with Murder in the Second Degree, Patronizing a Prostitute in the Third Degree,

Possession of Marijuana, and Aggravated Unlicensed Operation of a Motor Vehicle. While in

custody but prior to arraignment, Plaintiff was interrogated and beaten multiple times by the

Individual Defendants. Plaintiff complained about the assaults to his defense counsel and medical

records and photographs of Plaintiff’s face evidence the use of excessive force.

       Plaintiff now brings motions in limine to ensure a fair trial untainted by irrelevant evidence,

unfair prejudice, or misplaced sympathy. First, Plaintiff moves to exclude all evidence regarding

the underlying murder investigation, as all claims related to the validity of Plaintiff’s conviction

have been dismissed and because use of force must be judged solely on what those officers knew

at the time. Second, Plaintiff moves to limit impeachment evidence to avoid undue prejudice—

specifically, that Defendants cannot impeach Plaintiff with arrests and/or misdemeanor

convictions, and, most importantly, that while Defendants can impeach Mr. Johnson with the fact

that he was found guilty of a felony and is currently imprisoned, the details and specific sentence

and the length of the sentence should be excluded. Third, to ensure fairness, Plaintiff should be

permitted to appear before the jury in street clothes and without restraints. Finally, Defendants

should not be permitted to imply that they will be required to pay any judgment against them.




                                                 1
Case 2:11-cv-02481-SIL         Document 129-1 Filed 09/13/24              Page 6 of 12 PageID #:
                                           806



                                           ARGUMENT

  I.   EVIDENCE REGARDING THE MURDER INVESTIGATION SHOULD BE
       EXCLUDED

       It appears from the Joint Pre-Trial Order (ECF No. 120) that Defendants are attempting to

weave in facts regarding the underlying murder investigation to defend against Mr. Johnson’s

claims of excessive force. Such evidence and testimony should be excluded for two distinct

reasons: First, Judge DeArcy Hall’s summary judgment decision dismissed all claims Plaintiff

made to invalidate his conviction and second, because the Individual Defendants’ decision to use

force must be judged solely on what those officers knew at the time, not what was found out later

in the investigation.

       As to the first point, on March 31, 2020, Defendants moved for summary judgment in this

action arguing, in part, that because Plaintiff’s claims “would implicate the validity of his

conviction and [that] he has failed to demonstrate that the conviction or sentence has been reversed

or set aside,” they are impermissible under Heck v. Humprey, 512 U.S. 477, 486–487 (1994). (ECF.

No. 93-5, pg 9). Judge DeArcy Hall agreed with respect to Plaintiff’s Fifth and Sixth Amendment

claims, holding that each are barred by Heck, “that is, were Plaintiff to prevail on those claims, the

validity of his underlying conviction would be called into question.” 512 U.S. 477 (1994); see

Memorandum and Order, ECF No. 108. Thus, Plaintiff’s sole remaining claim is one for excessive

force, which would not necessarily require invalidation of his conviction. See Jackson v. Suffolk

County, 135 F.3d 254, 257 (2d Cir. 1998).

       Judge DeArcy Hall’s decision makes clear that all claims that Mr. Johnson’s confession

was coerced are precluded under Heck – Defendants cannot now, after arguing that Mr. Johnson’s

Fifth and Sixth Amendment claims be dismissed (and getting a ruling of dismissal), attempt to use

evidence of the same to defend against an excessive force claim. Further, it appears that Defendants

                                                  2
Case 2:11-cv-02481-SIL         Document 129-1 Filed 09/13/24              Page 7 of 12 PageID #:
                                           807



plan to use a large portion of their evidence as a type of impeachment in the event that Mr. Johnson

attempts to allege that his confession was coerced. Mr. Johnson will not attempt to testify or

introduce evidence that his confession was coerced, and Defendants should be precluded from

introducing evidence regarding dismissed claims that are irrelevant and extremely prejudicial to

Plaintiff.

        Second, Defendants should not be permitted to weave in irrelevant and highly prejudicial

facts from the underlying investigation and criminal case. Excessive force claims are evaluated

based on what is “objectively reasonable in light of the facts and circumstances confronting [the

officer].” Graham v. Connor, 490 U.S. 386, 397 (1989) (citing Scott v. United States, 436 U.S.

128, 137-139 (1978) and Terry v. Ohio, 392 U.S. 1, 21 (1968)) (emphasis added). “‘The

‘reasonableness’ of the amount of force used thus ‘must be judged from the perspective of a

reasonable officer on the scene … at the moment’ the force is used.” Rogoz v. City of Hartford,

796 F.3d 236, 247 (2d Cir. 2015) (quoting Graham, 480 U.S. at 396) (additional citations omitted).

“In sum, the ‘standard’ to be applied in determining whether ‘the amount of force’ used exceeded

the amount that was ‘necessary’ in the particular circumstances is ‘reasonableness at the

moment.’” Id. at 247 (quoting Graham, 490 U.S. at 396, 397) (additional citation omitted); see

also Kingsley v. Hendrickson, 576 U.S. 389, 397 (2015) (the relevant question, when force is used,

is “what the officer knew at the time, not with the 20/20 vision of hindsight”). Following this well-

established precedent, much of the Defendants’ evidence should be excluded.

        Consequently, the following evidence offered by Defendants should be excluded and/or

redacted: Defendants’ Exhibit C (Suffolk County Police Department (“SCPD”) Incident Report

dated May 26, 2010), Defendants’ Exhibit H and DD (both Supplementary Reports dated July 13,

2010), and Defendants’ Exhibit BB (various police paperwork), include no information related to



                                                 3
Case 2:11-cv-02481-SIL          Document 129-1 Filed 09/13/24               Page 8 of 12 PageID #:
                                            808



excessive force and provide no insight whatsoever into the officers’ state of mind prior to alleged

use of excessive force. As such, they should be excluded entirely.

        The following evidence should be excluded entirely as irrelevant, unduly prejudicial, and

barred under Judge DeArcy Hall’s decision: Defendants’ Exhibit M (Suffolk County Court

Decision and Order of the Honorary Gary J. Weber, dated March 23, 2011, determining that

Plaintiff’s confession was voluntary), Defendants’ Exhibit U (710.30 Notice and 250.20 Demand,

part of Plaintiff’s confession), Defendants’ Exhibit V (Supplemental 710.30 Notice and 250.20

Demand, part of Plaintiff’s confession), Defendants’ Exhibit W (a transcript of a jail call on July

22, 2010 between Mr. Johnson and Paulette Plante, a non-party), and Defendants’ Exhibit EE

(Missing Person Flyer of Jennifer Papain where Plaintiff wrote “That’s the girl I’ve killed”).

        Defendants’ Exhibit I, which includes four photographs of Plaintiff pointing to the location

of the victim’s body, should be excluded as more prejudicial than probative. Although these

photographs may have been taken after Plaintiff’s assault, there are other sets of photographs—for

example, Defendants’ Exhibits J-L—taken of Plaintiff after his confession, which the parties seek

to introduce into evidence, that are far less prejudicial. In the alternative, Defendants could at least

crop the photographs to just show Plaintiff’s face.

        Defendants’ Exhibit D (Prisoner Activity Log) and Defendants’ Exhibit Y (Mugshot

Profile) should be redacted regarding the murder charges and any facts related to the investigation.

        Finally, any testimony regarding the location of where Jennifer Papain’s body was found

on May 24, 2010, or testimony by Crime Lab Chief Robert Genna, Forensic Scientist Jennifer

Zavesky, Forensic Scientist James Calkins, Evidence Specialist Kelly Stillufsen, Assistant

Medical Examiner Dr. H. Sims-Childs, and/or Physician Assistant Christine Szempruch should be

excluded as irrelevant. Detective Philip Frendo should also be precluded from testifying regarding



                                                   4
Case 2:11-cv-02481-SIL         Document 129-1 Filed 09/13/24              Page 9 of 12 PageID #:
                                           809



the photographs he took on May 24, 2010 of Plaintiff allegedly showing Detectives Soto and

Comiskey where he buried Jennifer Papain. Again, any testimony beyond what was known by

Defendants at the relevant time force was used is both irrelevant and deeply prejudicial.

 II.   IMPEACHMENT SHOULD BE LIMITED TO AVOID UNDUE PREJUDICE

       There are several areas of impeachment that should be excluded or limited. First, arrests,

without a conviction, say nothing about Plaintiff’s truthfulness and should not be used for

impeachment. Mr. Johnson has been arrested before, but Defendants should not be allowed to

impeach him based on arrests that did not result in a conviction. Under Fed. R. Evid. 608, an arrest

alone is not allowed for impeachment because “[i]t happens to the innocent as well as the guilty.

Only a conviction, therefore, may be inquired about to undermine the trustworthiness of a witness.”

Daniels v. Loizzo, 986 F. Supp. 245, 252 (S.D.N.Y. 1997) (quoting Michelson v. United States,

335 U.S. 469, 482 (1948).

       Second, Plaintiff should also not be impeached with misdemeanors. Minor crimes,

punishable with imprisonment for more one year or less, are excluded for impeachment under Fed.

R. Evid. 609(a)(1). See United States v. Nichols, 808 F.2d 660, 664 (8th Cir. 1987) (finding that

“impeachment is proper only if the conviction permits imprisonment greater than one year.”).

       Finally, while Defendants can certainly impeach Mr. Johnson with the fact that he was

found guilty of a felony and is currently imprisoned, the details and specific sentence (Murder in

the Second Degree) and the length of the sentence, other than to state that the felonies are

punishable by a term of imprisonment of more than one year, should be excluded. See Williams v.

Geraci, No. 14-CV-5742 (SIL), 2020 WL 5848738, at *2 (E.D.N.Y. Sept. 30, 2020), citing Hines

v. Huff, No. 16-cv-503, 2019 WL 3574246, at *2 (N.D.N.Y. Aug. 6, 2019) (internal citations

omitted) (reasoning that “[t]he length of a sentence may bear a relation to the gravity of an offense”



                                                  5
Case 2:11-cv-02481-SIL          Document 129-1 Filed 09/13/24            Page 10 of 12 PageID #:
                                             810



and finding that admitting the length of the sentence “creat[es] a danger of unfair prejudice because

the jury might infer from its length that Plaintiff committed a serious violent crime, and unfairly

       Allowing testimony that Mr. Johnson was found guilty of murder is tantamount to allowing

in evidence of the subsequent investigation and prosecution that we seek to exclude in Section I,

above. Further, his conviction is not a crime of dishonesty. See United States v. Flaharty, 295 F.3d

182, 191 (2d Cir. 2002) (“Murder generally is not a crime of dishonesty ...”); see also Espinosa v.

McCabe, No. 10-cv-497, 2014 WL 988832, at *1, 4 (N.D.N.Y. Mar. 12, 2014) (finding that the

impeachment value of prior convictions weighs against admission for a plaintiff's felony

convictions, which included Attempted Murder in the Second Degree and Criminal Use of a

Firearm in the First Degree).

       As You Honor reasoned in his motions in limine rulings in Williams, even if Plaintiff’s

conviction could potentially speak to Plaintiff’s credibility, the probative value of the conviction

is substantially outweighed by the unfair prejudice that Mr. Johnson may face by allowing

admission of his conviction. No. 14-CV-5742 (SIL), 2020 WL 5848738, at *2 (see, e.g., Zulu v.

Barnhart, No. 16-cv-1408, 2019 WL 3239397, at *2 (N.D.N.Y. July 18, 2019), citing United

States v. Agostini, 280 F. Supp. 2d 260, 262 (S.D.N.Y. 2003)) (finding that a plaintiff's

prior murder conviction is highly prejudicial and could cause the jurors to evaluate his worth as a

witness based on that conviction, regardless of its irrelevance to his claim).

       Accordingly, Plaintiff’s criminal history, which includes only one felony, should not be

used for impeachment purposes. With respect to Plaintiff’s murder conviction, any evidence

beyond the fact that he was found guilty of a felony for which he is currently imprisoned and

serving a sentence greater than one year should be excluded.




                                                  6
Case 2:11-cv-02481-SIL        Document 129-1 Filed 09/13/24               Page 11 of 12 PageID #:
                                           811



III.   PLAINTIFF SHOULD BE PERMITTED TO APPEAR BEFORE THE JURY IN
       STREET CLOTHES AND WITHOUT RESTRAINTS

       “In civil as well as criminal cases, the right to a fair trial is fundamental. In either type of

case, the court must be alert to avoid practices that may undermine the fairness of the fact finding

process.” Davidson v. Riley, 44 F.3d 1118, 1122 (2d Cir. 1995). Forcing a party to appear before

a jury in prison clothes violates his due process right to a fair trial. See Estelle v. Williams, 425

U.S. 501, 512-13 (1976); see also United States v. Burgos, 1997 WL 527365, at *1 (D. Conn. July

24, 1997). So does keeping him in restraints, unless the court finds after a hearing that such

restraints are absolutely necessary. See Davidson, 44 F.3d at 1124-25.

       Mr. Johnson is presently incarcerated, but there is no reason to believe he poses any escape

risk or security risk. The Court should therefore allow him to appear before the jury in appropriate

civilian attire, without handcuffs or other restraints, and without the overly conspicuous

involvement of law enforcement whose presence might undermine the fairness of the trial by

creating the misleading impression that Mr. Johnson is a threat. To the extent that Mr. Johnson

needs to be escorted in and out of the courtroom or to and from the witness stand, the Court should

ensure that it happens outside the presence of the jury.

IV.    DEFENDANTS SHOULD NOT BE PERMITTED TO IMPLY THAT THEY WILL
       BE REQUIRED TO PAY JUDGMENT AGAINST THEM

       Defendants should be precluded under Fed. R. Evid. 403 from suggesting or implying that

they will have to pay any judgment in this case.

       There is a substantial likelihood that they will be indemnified by Suffolk County.

Defendants “should not be allowed to plead poverty if his employer or an insurance company is

going to pick up the tab.” Kemezy v. Peters, 79 F.3d 33, 37 (7th Cir. 1996); see also Mathie v.

Fries, 121 F.3d 808, 816 (2d Cir. 1997) (“It would be entirely inappropriate for a defendant to

raise the issue of his limited financial resources if there existed an indemnity agreement placing

                                                   7
Case 2:11-cv-02481-SIL         Document 129-1 Filed 09/13/24              Page 12 of 12 PageID #:
                                            812



the burden of paying the award on someone else’s shoulders.”). Furthermore, even if Defendants’

financial circumstances are deemed to be somehow minimally relevant, its “relevance” would be

substantially outweighed by the danger of prejudice and affirmatively misleading the jury under

Rule 403.

       It is likely that the Defendants will argue that indemnifications decisions will not be

finalized until after a verdict, but that does not change the fact that Suffolk regularly indemnifies

officers after trial. In the alternative, if Defendants are permitted to testify about their financial

resources, and the burden of having to pay a judgment, we should be allowed to question them

about indemnification, including prior lawsuits where Suffolk has agreed to pay damages in civil

rights cases.

                                          CONCLUSION

       For the reasons stated above, Plaintiff’s motions in limine should be granted.

Dated: New York, New York
       September 13, 2024



                                                      By:

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                                                  8
